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 Information to identify the case:
 Debtor
                The Hall at the Yard, LLC                                                  EIN:   83−1284578
                Name

 United States Bankruptcy Court     Middle District of Florida                             Date case filed for chapter:        11      1/24/23

            8:23−bk−00250−CPM
 Case number:

Official Form 309F2 (For Corporations or Partnerships under Subchapter V)
Notice of Chapter 11 Bankruptcy Case                                                                                                                   10/20

For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess property, or
otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors who violate the stay
can be required to pay actual and punitive damages and attorney's fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge may be
required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line 12 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.

  1. Debtor's full name                       The Hall at the Yard, LLC


  2. All other names used in the
     last 8 years


  3. Address                                  13518 Westshire Dr.
                                              Tampa, FL 33618

  4. Debtor's attorney                        Edward J. Peterson III                                     Contact phone (813) 229− 0144
       Name and address                       Stichter, Riedel, Blain & Postler, P.A.
                                              110 East Madison Street, Suite 200                         Email: epeterson@srbp.com
                                              Tampa, FL 33602

  5. Bankruptcy trustee                       Ruediger Mueller
                                                                                                         Contact phone 678−863−0473
      Name and address                        Dr. Mueller Associates, Inc.
                                              1112 Watson Court                                          Email: trustee@tcmius.com
                                              Reunion, FL 34747−6784

  6. Bankruptcy clerk's office                                                                            Hours open:
                                                                                                          Mon−Fri 8:30am−4:00pm
       Documents in this case may be filed    Sam M. Gibbons United States Courthouse
      at this address.                        801 North Florida Avenue, Suite 555
      You may inspect all records filed in                                                                Contact phone 813−301−5162
                                              Tampa, FL 33602
      this case at this office or online at
      https://pacer.uscourts.gov.                                                                         Date: January 25, 2023

                                                                                                           For more information, see page 2 >




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Debtor The Hall at the Yard, LLC                                                                                   Case number 8:23−bk−00250−CPM


 7. Meeting of creditors                        February 22, 2023 at 01:30 PM
       The debtor's representative must                                                                  Meeting to be held
      attend the meeting to be questioned       The meeting may be continued or adjourned to a later date.
      under oath.
                                                                                                         Telephonically by the U.S.
                                                If so, the date will be on the court docket.             Trustee's Office (For Tampa and
      Creditors may attend, but are not
      required to do so. You are reminded                                                                Ft. Myers Cases), Call in
      that Local Rule 5073−1 restricts the       *** Debtor must provide a Photo ID and acceptable proof Number: 866−910−0293,
      entry of personal electronic devices        of Social Security Number to the Trustee in the manner Passcode: 7560574.
      into the Courthouse.                                      directed by the Trustee. ***


 8. Proof of claim deadline                    Deadline for filing proof of claim:
                                               For a governmental unit: 180 days from the                     April 4, 2023
                                               date of filing
                                               A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be filed
                                               online at the Court's website at www.flmb.uscourts.gov, or obtained at www.uscourts.gov or at any
                                               bankruptcy clerk's office.
                                               Your claim will be allowed in the amount scheduled unless:
                                               • your claim is designated as disputed, contingent, or unliquidated;
                                               • you file a proof of claim in a different amount; or
                                               • you receive another notice.
                                               If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you
                                               must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a
                                               plan. You may file a proof of claim even if your claim is scheduled.
                                               You may review the schedules at the bankruptcy clerk's office or online at https://pacer.uscourts.gov.
                                               Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a
                                               proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer
                                               can explain. For example, a secured creditor who files a proof of claim may surrender important
                                               nonmonetary rights, including the right to a jury trial.


 9.                                            If § 523(c) applies to your claim and you seek to have it
      Exception to discharge                   excepted from discharge, you must start a judicial
      deadline                                 proceeding by filing a complaint by the deadline stated
                                               below.
       The bankruptcy clerk's office must
      receive a complaint and any              Deadline for filing the complaint: No later
      required filing fee by the following     than the first date set for the hearing on
      deadline.                                confirmation.

                                                If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to
 10. Creditors
     address
               with a foreign                   extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                                have any questions about your rights in this case.


                                               Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                               court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
 11. Filing a Chapter 11
     bankruptcy case
                                               and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                               hearing, and you may object to confirmation of the plan and attend the confirmation hearing. The debtor will
                                               generally remain in possession of the property and may continue to operate the debtor's business.


                                               Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your
                                               debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the
 12. Discharge of debts                        debtor except as provided in the plan. If you want to have a particular debt owed to you excepted from the
                                               discharge and § 523(c) applies to your claim, you must start a judicial proceeding by filing a complaint and
                                               paying thefiling fee in the bankruptcy clerk's office by the deadline.


                                             McVCIS provides basic case information concerning deadlines such as case opening and closing date,
 13. Voice Case Info. System
     (McVCIS)
                                             discharge date and whether a case has assets or not. McVCIS is accessible 24 hours a day except when
                                             routine maintenance is performed. To access McVCIS toll free call 1−866−222−8029.
